         Case 6:16-cr-00032-DEW-CBW   Document
                                 UNITED         4 Filed 02/23/16
                                        STATES DISTRICT COURT    Page 1 of 1 PageID #: 4
                                          WESTERN DISTRICT OF LOUISIANA
                                               LAFAYETTE DIVISION

UNITED STATES OF AMERICA                                                    CRIMINAL NO 6:16CR00032-01

versus                                                                      JUDGE MINALDI

WADE BERGERON                                                               MAGISTRATE JUDGE WHITEHURST

                                            MINUTES OF COURT
                                        CHANGE OF PLEA HEARING
___________________________________________________________________________________________________________
Date: 2/23/2016                                           Presiding: Judge Minaldi
Court Opened: 10:00 a.m.                                  Courtroom Deputy: Christina Chicola
Court Adjourned: 10:12 a.m.                               Court Reporter: DD Juranka
Statistical Time: 00:12
___________________________________________________________________________________________________________
APPEARANCES                                                     Defendant Present
                                                                 Defendant in Custody
DEFENDANT: Wade Bergeron                                         Defendant on bond
                                                                 Remanded to custody
GOVERNMENT COUNSEL: Alexander Van Hook                           Personal Recognizance Bond
                                                                 Bond not made, remanded to custody
DEFENSE COUNSEL: Dustin Talbot (FPD)                             Failed to Appear, warrant ordered
                                                                 Appearance Bond signed (AO 98)


___________________________________________________________________________________________________________
CASE CALLED FOR:
 X Initial Appearance and Arraignment on Bill of Information
          X      Bill of Information filed
          X      Waiver of Indictment Signed
 X Change of Plea:
           X     Plea of guilty to count: 1 of the Bill of Information
           X     Defendant under oath
           X     Defendant advised of Rule 11 rights
           X     Filed Affidavit of Understanding of Maximum Penalty and Constitutional Rights
           X     Filed Plea Agreement
           X     Filed Agreement and Waiver of Statue of Limitations
           X     Filed Stipulated Factual Basis for Guilty Plea
           X     Filed Elements of Offense
           X     Plea of guilty accepted
           X     Sentencing Set for: May 24, 2016 @ 10:00 A.M.



___________________________________________________________________________________________________________
COMMENTS:
       IT IS ORDERED that the defendant be released with the special condition that he does not posses a firearm. IT IS FURTHER
       ORDERED that the oral motion to seal the plea agreement filed on behalf of the defendant is hereby GRANTED.
